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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

CONNIE ANNETT WARD,                           §
                 PLAINTIFF,                   §

                                              §
V.                                            § CIVIL CASE NO. 3:24-CV-582-B-BK
                                              §
BILLY JOHNSON DENTAL CLINIC,                  §
DENTAC,                                       §
                  DEFENDANT.                  §




              ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
         RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE


       The United States Magistrate Judge made Findings, Conclusions, and a Recommendation

in this case. No objections were filed. The court reviewed the proposed Findings, Conclusions,

and Recommendation for plain error.       Finding none, the court ACCEPTS the Findings,

Conclusions, and Recommendation of the United States Magistrate.


       SO ORDERED this 8th day of October, 2024.




                                           _________________________________
                                           JANE J. BOYLE
                                           UNITED STATES DISTRICT JUDGE
